      Case 1:21-cr-00199-ELR-CCB Document 78 Filed 07/06/22 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                            CRIMINAL ACTION NO.
      v.                                    1:21-CR-199-ELR-CCB

PAUL KWAK (1),
MICHELLE KWAK (2),

      Defendants.


                                       ORDER

      This matter is before the Court for consideration of the Parties’ joint motion

for a 60-day extension of time within which to file pretrial motions. (Doc. 77). For

good cause shown, the Court GRANTS the motion and will afford Defendants

through and including September 7, 2022, to file pretrial motions followed by a

subsequent pretrial conference scheduled for Friday, September 9, 2022, at 9:00

A.M. The pretrial conference will be conducted by video using the Zoom platform.

Counsel will be sent instructions prior to the hearing.

      IT IS HEREBY ORDERED that the period between the date of the motion

to continue, July 5, 2022, and the date of the next pretrial conference, September 9,

2022, shall be excluded pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A)
      Case 1:21-cr-00199-ELR-CCB Document 78 Filed 07/06/22 Page 2 of 2




and (B)(iv). The Court finds that the extension is necessary because the parties

anticipate additional discovery is forthcoming, and defense counsel will need

additional time to review the discovery once it is produced and discuss the case

with their clients before determining whether pretrial motions are appropriate,

and the Government will need time to review any filed motions in preparation for

the pretrial conference. Therefore, the ends of justice served by granting the

continuance outweigh the best interest of the public and the Defendants in a

speedy trial.

      The Court anticipates having the pretrial conference in September

regardless of whether any party files a motion seeking additional time to file

motions. If any party does file such a motion, counsel should still plan to attend

the pretrial conference on September 9, at which time the Court will hear from

counsel regarding why additional time is needed.

      IT IS SO ORDERED, this 6th day of July, 2022.




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